Case 17-32589-KLP                   Doc 53          Filed 10/12/20 Entered 10/12/20 14:17:01                                         Desc Main
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B 210A (Form 210A) (12/09)

                                      UNITED STATES BANKRUPTCY COURT
                                        EASTERN DISTRICT OF VIRGINIA
                                             RICHMOND DIVISION


 IN RE:
 HAYWOOD L DABNEY AND                                                             CASE NO. 17-32589-KLP
 DARSHAE L DABNEY                                                                 CHAPTER 13
                DEBTORS



                              TRANSFER OF CLAIM OTHER THAN FOR SECURITY

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee hereby
gives evidence and notice pursuant to Rule 3001 (e)(2), Fed. R. Bankr. P., of the transfer, other than for security,
of the claim referenced in this evidence and notice.


                       BSI Financial Services                                                   Statebridge Company, LLC
                        Name of Transferee                                                          Name of Transferor

 Name and Address where notices of transferee should
 be sent:
                                                                                Court Claim # (if known): 14
 BSI Financial Services
                                                                                Amount of Claim: $203,763.54
 1425 Greenway Drive
                                                                                Date Claim Filed: July 27, 2017
 Suite 400
 Irving, TX 75038
 Phone: 1-800-327-7861                                                          Last Four Digits of Acct#: 0734
 Last Four Digits of Acct #: 0734

Name and Address where transferee payments should be sent (if different from above):
 BSI Financial Services
 314 S Franklin St. P.O. Box 517
 Titusville, PA 16354
 Phone: 1-800-327-7861
 Last Four Digits of Acct #: 0734

I declare under penalty of perjury that the information provided in this notice is true and correct to the best of
my knowledge and belief.


 By: s/ M. Christine Maggard                                                  Date: October 12, 2020
 Transferee/Transferee’s Agent

         Penalty for making a false statement: Fine of up to $500,000.00 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 & 3571.
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                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF VIRGINIA
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 IN RE:
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                                  CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that a true and exact copy of the foregoing Transfer Of
Claim Other Than For Security has been electronically served or mailed, postage prepaid on October
12, 2020 to the following:

HAYWOOD L DABNEY
1612 CEDAR GROVE TER
HENRICO, VA 23228

DARSHAE L DABNEY
1612 CEDAR GROVE TER
HENRICO, VA 23228

Richard C. Pecoraro, Debtor's Attorney
1700 Huguenot Rd.
Suite B4
Midlothian, VA 23113
rich@richlawrva.com


Suzanne E. Wade, Bankruptcy Trustee
7202 Glen Forest Drive, Ste. 202
Richmond, VA 23226


                                             /s/ M. Christine Maggard
                                             M. Christine Maggard
                                             (Bar No. 33824)
                                             Attorney for Creditor
                                             BROCK & SCOTT, PLLC
                                             8757 Red Oak Blvd., Suite 150
                                             Charlotte, NC 28217
                                             Telephone: 757-213-2959 x4538
                                             Facsimile: 704-369-0760
                                             E-Mail: christine.maggard@brockandscott.com
